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                                                                  FILED
                                                         U.S. DISTRICT COURT
N.Joshua Dart, W.S.B. No. 7-4634
Upright Law LLC
                                                        DISTRICT OF WYOMiNG
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                         IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF WYOMING


 ALYSON FISHEL,                                              Case No   . js'-cv-
          Plaintiff,

 V.                                                          COMPLAINT

 COLLECTION CENTER, INC.,

          Defendant.                                         JURY DEMANDED




           Now comes the Plaintiff, ALYSON FISHEL, by and through her attorneys, and for her

 Complaint against the Defendant, COLLECTION CENTER, INC„ Plaintiff alleges and states as

 follows:


                                    PRELIMINARY STATEMENT

           1.        This is an action for damages for violations of the Fair Debt Collection Practices

 Act("FDCPA"), 15 U.S.C. § 1692, etseq,

                                    JURISDICTION AND VENUE

           2.        This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331,1337 and 1367, and IS

 U.S.C. § 1692k(d). This jurisdiction includes supplemental jurisdiction with respect to

 pendent state law claims.

          3.         Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a
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